Case 0:20-cv-60192-AHS Document 252 Entered on FLSD Docket 03/17/2021 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  Case No.: 0:20-CIV-60192-AHS

   SHANE VILLARINO, et al.,


          Plaintiffs,
   v.
   PACESETTER PERSONNEL SERVICE,
   INC., et al.,

          Defendants.
   _________________________________/



                DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendants Pacesetter Personnel Service, Inc., Pacesetter Personnel Service of Florida,

  Inc., Florida Staffing Service, Inc., and Tampa Service Company, Inc., (collectively,

  “Defendants”), hereby submit this Notice of Supplemental Authority in further support of

  Defendant’s Response to Plaintiffs’ Motion for Conditional Certification [D.E. 173]. The

  additional case law, attached hereto as Exhibit 1, did not exist at the time of filing of Defendants’

  Response.

         Respectfully submitted this 17th day of March, 2021.

                                                        By: s/ Ronald J. Tomassi, Jr.
                                                        Derek E. León, Esq.
                                                         Florida Bar No. 625507
                                                        Ronald J. Tomassi, Jr.
                                                         Florida Bar No. 29751
                                                        LEÓN COSGROVE, LLP
                                                        255 Alhambra Circle, Suite 800
                                                        Coral Gables, Florida 33134
                                                        Telephone: 305.740.1975
                                                        Email: dleon@leoncosgrove.com
                                                        Email: rtomassi@leoncosgrove.com
Case 0:20-cv-60192-AHS Document 252 Entered on FLSD Docket 03/17/2021 Page 2 of 3




                                           Rebecca L. Gibson, Esq.
                                           Joel M. Androphy, Esq.
                                           Caroline Gorman, Esq.
                                           BERG & ANDROPHY
                                           3704 Travis Street
                                           Houston, Texas 77002
                                           Telephone: 713-529-5622
                                           Email: cgorman@bafirm.com
                                           Email: rgibson@bafirm.com
                                           Email: jandrophy@bafirm.com
                                           Admitted Pro Hac Vice

                                           Counsel for Defendants
Case 0:20-cv-60192-AHS Document 252 Entered on FLSD Docket 03/17/2021 Page 3 of 3




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 17, 2021, I electronically filed the foregoing with the

  Clerk of the Court with a copy of the same to be served upon counsel via the CM/ECF system:

   Dion J. Cassata, Esq.                         Andrew R. Frisch, Esq.
   CASSATA LAW, PLLC                             MORGAN & MORGAN, P.A.
   Boca Crown Centre                             8151 Peters Road, 4th Floor
   7999 North Federal Highway, Suite 202         Plantation, FL 33324
   Boca Raton, Florida 33487                     Email: afrisch@forthepeople.com
   Email: dion@cassatalaw.com                    Phone: 954-967-5377
   Phone: 954-364-7803

                                                  s/ Ronald J. Tomassi, Jr.
                                                  Ronald J. Tomassi, Jr.
